&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="18f459c482"&gt;&lt;span data-sentence-id="94e22f8017" quote="false" data-paragraph-id="18f459c482"&gt; Timothy D. Smith, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="5b9e635866" quote="false" data-paragraph-id="18f459c482"&gt; &lt;br /&gt; Cary A. Smith and Rocky Mountain Planned Parenthood, Inc., a nonprofit corporation, d/b/a Planned Parenthood of The Rocky Mountains, Inc.&lt;/span&gt; Respondents &lt;/p&gt;&lt;p data-paragraph-id="7226865e01"&gt;No. 21SC808&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1d582eef7d"&gt;July 25, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="00f57b2699"&gt;&lt;span data-sentence-id="e73070a4be" quote="false" data-paragraph-id="00f57b2699"&gt; Court of Appeals Case No. 20CA1428 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;